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 8                     United States District Court
 9                     Central District of California
10                          Western Division
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12      NATIONAL ASSOCIATION OF                              CV 15-1239 TJH (MANx)
        AFRICAN-AMERICAN OWNED
13      MEDIA, et al.,
                                                                      Order
14                          Plaintiffs,
15            v.
16      COMCAST CORPORATION,                                         JS-6
17                          Defendant.
18

19           The Court has considered Defendant Comcast Corporation’s [“Comcast”] motion
20     to dismiss Plaintiffs’ Second Amended Complaint [“SAC”] under Fed. R. Civ. P.
21     12(b)(6), together with the moving and opposing papers.
22           To survive a 12(b)(6) motion, a plaintiff must plead facts sufficient to state a
23     plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The crux of
24     Plaintiffs’ claim is that “Comcast’s . . . refusal to contract with Plaintiff Entertainment
25     Studios [Network, Inc.]” [“ESN”] was “racially discriminatory.”
26           In dismissing the First Amended Complaint [“FAC”], the Court clearly identified
27     the problem: the benchmarks provided by Plaintiffs — allegedly representing demand
28     by viewers for ESN channels — were ambiguous, and did not exclude the alternative

                                                                             Order – Page 1 of 3
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 1     explanation that Comcast’s refusal to contract with ESN was based on legitimate
 2     business reasons. See Eclectic Properties E., LLC v. Marcus & Millichap Co., 751
 3     F.3d 990, 996 (9th Cir. 2014). The Court went out of its way to suggest cures for the
 4     pleading deficiencies.
 5           In the SAC, Plaintiffs have merely provided the Court with different opaque
 6     benchmarks. For example, Plaintiffs added the allegation that eighty million people
 7     may have access to ESN in all fifty states. But, similar to the viewer growth statistics
 8     in the FAC, this allegation represents potential, not actual, demand for ESN content,
 9     and thus it does not necessarily undercut the Comcast’s alternative explanation. In
10     short, not one fact added to the SAC is either antithetical to a decision not to contract
11     with ESN for legitimate business reasons or, in itself, indicates that the decision was
12     racially discriminatory.   Accordingly, the SAC “stops short of the line between
13     possibility and plausibility of entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662,
14     678 (2009) (internal quotations omitted).
15           Federal Rule of Civil Procedure 15(a) provides that leave to amend shall be given
16     freely “when justice so requires.” Nonetheless, “[r]epeated failure to cure deficiencies
17     by amendments previously allowed is [a] valid reason for a district court to deny a party
18     leave to amend.” McGlinchy v. Shell Chem. Co., 845 F.2d 802, 809–10 (9th Cir.
19     1988). In the Order dismissing the FAC, Plaintiffs were warned, in no uncertain terms,
20     that “leave to amend” would only be provided “one last time.” Indeed, the Court
21     specifically stated that “[i]f Plaintiffs file a second amended complaint with pleading
22     deficiencies, this case will . . . be dismissed with prejudice.” The deficiencies
23     identified have not been cured.
24

25           Accordingly,
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                                                                           Order – Page 2 of 3
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 1           It is Ordered that Comcast’s motion to dismiss be, and hereby is, Granted
 2     with prejudice.
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 4     Date: October 5, 2016
 5                                           ___________________________________
 6                                                   Terry J. Hatter, Jr.
 7
                                              Senior United States District Judge

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